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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



                                                         Master Case No. 15-cv-10889
IN RE VTECH DATA BREACH
LITIGATION
                                                         The Honorable Manish S. Shah




                            PARTIES’ JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order dated June 21, 2018 (ECF No. 114) and the Parties’

Joint Status Reports dated July 23, 2018 (ECF No. 115), and August 21, 2018 (ECF No. 116),

the parties advise the Court that the named Plaintiffs have agreed to settle this matter with

Defendant. The parties respectfully request that the Court allow the parties an additional fourteen

days, until September 26, 2018, to finalize the agreement. The parties anticipate filing a

stipulated agreement to dismiss all claims with prejudice and requesting that the Court enter its

April 18, 2018 Memorandum Opinion and Order as a final judgment.


Dated: September 12, 2018                                    Respectfully submitted,

/s/ Jason L. Lichtman                               /s/ Jeremy S. Goldkind
Jason L. Lichtman                                   Michael Dockterman
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                                SIGNATURE ATTESTATION

       Pursuant to the United States District Court for the Northern District of Illinois’ General

Order on Electronic Case Filing, General Order 14-0009(IX)(C)(2), I hereby certify that

authorization for the filing of this document has been obtained from each of the signatories

shown above and that all signatories concur in the filing’s content.

                                              /s/ Jeremy Goldkind
                                              Jeremy Goldkind




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                                CERTIFICATE OF SERVICE

       I hereby certify that I filed the foregoing document using this Court’s CM/ECF service,

which will send notice of such filing to all counsel of record this 12th day of September, 2018.


                                             /s/ Jeremy Goldkind
                                             Jeremy Goldkind
